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                                                                                                CLOSED
                               U.S. District Court
                         District of Montana (Billings)
              CIVIL DOCKET FOR CASE #: 1:21−mc−00011−SPW−TJC

Reciprocity Industries, LLC v. Century Indemnity Company      Date Filed: 10/08/2021
Assigned to: Judge Susan P. Watters
Referred to: Magistrate Judge Timothy J. Cavan
Cause: Civil Miscellaneous Case
Plaintiff
Reciprocity Industries, LLC                   represented by Adam J. Tunning
                                                             MOULTON BELLINGHAM, PC
                                                             27 North 27th Street, Suite 1900
                                                             PO Box 2559
                                                             Billings, MT 59103−2559
                                                             406−248−7731
                                                             Fax: 406−248−7889
                                                             Email: adam.tunning@moultonbellingham.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Katherine Elizabeth Antonson
                                                             Moulton Bellingham PC
                                                             27 North 27th Street
                                                             P.O. Box 2559
                                                             Billings, MT 59103−2559
                                                             701−360−2001
                                                             Fax: 406−248−7889
                                                             Email: kat.antonson@moultonbellingham.com
                                                             ATTORNEY TO BE NOTICED


V.
Defendant
Century Indemnity Company                     represented by Matthew M. Hibbs
                                                             CROWLEY FLECK, PLLP − BOZEMAN
                                                             1915 South 19th Avenue
                                                             PO Box 10969
                                                             Bozeman, MT 59719−0969
                                                             406−556−1430
                                                             Fax: 406−556−1433
                                                             Email: mhibbs@crowleyfleck.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Robert C. Griffin
                                                             CROWLEY FLECK PLLP − BILLINGS
                                                             490 North 31st Street, Suite 500
                                                             PO Box 2529
                                                             Billings, MT 59103−2529
                                                             406−252−3441
                                                             Fax: 256−0277
                                                             Email: rgriffin@crowleyfleck.com
                                                             TERMINATED: 12/02/2021
                                                             ATTORNEY TO BE NOTICED


 Date Filed     #   Docket Text
 10/08/2021         Judge Susan P. Watters and Magistrate Judge Timothy J. Cavan added. (JEH)
                    (Entered: 10/08/2021)
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10/08/2021      1 MOTION to Quash. Adam J. Tunning appearing for Plaintiff Reciprocity Industries,
                  LLC Motions referred to Timothy J. Cavan. (JEH) (Entered: 10/08/2021)
10/08/2021      2 Brief/Memorandum in Support re 1 MOTION to Quash filed by Reciprocity
                  Industries, LLC. (Attachments: # 1 Exhibit 1 US Bankruptcy Court Subpoena, # 2
                  Exhibit 2 9/24/2021 Letter re Subpoena, # 3 Exhibit 3 10/4/2021 Letter re Subpoena, #
                  4 Exhibit 4 Subpoena) (JEH) (Entered: 10/08/2021)
10/12/2021         Filing fee PAID: $ 49.00, receipt number MTX100018292 (AMC) (Entered:
                   10/12/2021)
10/21/2021      3 STIPULATION to Extend Time by Reciprocity Industries, LLC. (Attachments: # 1
                  Text of Proposed Order) (Tunning, Adam) Modified on 10/21/2021 to correct event
                  type. (JDH). (Entered: 10/21/2021)
10/21/2021      4 ORDER granting 3 Stipulated Motion to Extend Time. IT IS HEREBY ORDERED
                  that Defendant shall file its response by November 15, 2021. Signed by Magistrate
                  Judge Timothy J. Cavan on 10/21/2021. (JDH) (Entered: 10/21/2021)
11/15/2021      5 MOTION to Transfer to Reciprocity Industries, LLC's Motion to Quash Century's
                  Subpoena to the Bankruptcy Court for the District of Delaware Robert C. Griffin
                  appearing for Defendant Century Indemnity Company Motions referred to Timothy J.
                  Cavan. (Griffin, Robert) (Entered: 11/15/2021)
11/15/2021      6 Brief/Memorandum Opposition re 1 MOTION to Quash filed by Century Indemnity
                  Company. (Griffin, Robert) Modified on 11/16/2021 (AMC). (Entered: 11/15/2021)
11/15/2021      7 Brief/Memorandum in Support re 5 MOTION to Transfer to Reciprocity Industries,
                  LLC's Motion to Quash Century's Subpoena to the Bankruptcy Court for the District of
                  Delaware filed by Century Indemnity Company. (Griffin, Robert) (Entered:
                  11/15/2021)
11/15/2021      8 MOTION to Expedite − Century's Emergency Motion for Entry of an Order
                  Shortening the Notice and Objection Period for Century's Motion to Transfer
                  Reciprocity Industries, LLC's Motion to Quash Subpoena to the Bankruptcy Court for
                  the District of Delaware Robert C. Griffin appearing for Defendant Century Indemnity
                  Company Motions referred to Timothy J. Cavan. (Griffin, Robert) (Entered:
                  11/15/2021)
11/15/2021      9 Brief/Memorandum in Support re 8 MOTION to Expedite − Century's Emergency
                  Motion for Entry of an Order Shortening the Notice and Objection Period for
                  Century's Motion to Transfer Reciprocity Industries, LLC's Motion to Quash Subpoena
                  to the Bankruptcy Court for the filed by Century Indemnity Company. (Griffin, Robert)
                  (Entered: 11/15/2021)
11/15/2021     10 AFFIDAVIT/DECLARATION re 5 MOTION to Transfer to Reciprocity Industries,
                  LLC's Motion to Quash Century's Subpoena to the Bankruptcy Court for the District of
                  Delaware, 6 Brief/Memorandum in Support by Century Indemnity Company.
                  (Attachments: # 1 Exhibit 1 − 2021.02.16 (002204.01) Exhibit A, # 2 Exhibit 2 −
                  2021.08.30 Hearing Transcript of Boy Scouts of America and Delaware BSA LLC, # 3
                  Exhibit 3 − Emergency Motion 7118 & 7119, # 4 Exhibit 4 − 2020.08.25 (001145.03)
                  Exhibit B (Roberts Declaration with Attached Exhibits A−1 − R), # 5 Exhibit 5 −
                  2020.08.26 (001165.00) Declaration, # 6 Exhibit 6 − 2020.08.26 (001166.00)
                  Declaration Exhibits, # 7 Exhibit 7 − 2020.10.07 (001429.01) Exhibit A (Redacted), #
                  8 Exhibit 8 − 2021.02.12 (002211.03) Declaration of Erich J. Speckin, # 9 Exhibit 9 −
                  2021.08.09 (005923.00) Verified Statement Filed, # 10 Exhibit 10 − 2021.09.06
                  (006166.00) Letter, # 11 Exhibit 11 − 2021.09.09 (006184.00) Order, # 12 Exhibit 12
                  − 2021.10.08 (006528.00) Order, # 13 Exhibit 13 − Oct. 4, 2021 Depo Subpoena to
                  Van Arsdale with AoS, # 14 Exhibit 14 − Doc Subpoena with AoS to Van Arsdale, #
                  15 Exhibit 15 − 10.18.2021 R&Qs, # 16 Exhibit 16 − Van Arsale AVA Objections to
                  Subpoenas − Letter Dated 10−15−21 PLS, # 17 Exhibit 17 − Nov. 12, 2021 Hearing
                  Transcript, # 18 Exhibit 18 − 2021.09.27 (006380.00) Motion, # 19 Exhibit 19 −
                  2021.10.12 (006598.00) Objection, # 20 Exhibit 20 − 2021.10.27 (006813.00) Letter,
                  # 21 Exhibit 22 − 2021.09.30 (006445.00) Disclosure Statement Solicitation, # 22
                  Exhibit 23 − 2020.10.13 (001496.00) Omnibus Reply, # 23 Exhibit 24 − 2020.10.14
                  Hearing Transcript, # 24 Exhibit 25 − 2021.09.14 (006211.10) Reciprocity Industries,
                  LLC Subpoena) (Griffin, Robert) (Entered: 11/15/2021)
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11/16/2021     11 NOTICE of Filing Exhibits Exhibit 21 − 2021.09.30 Dkt 6443 Solicitation Version of
                  Modified Fifth Amended Plan re: 10 Affidavit/Declaration,,,,,,, 5 MOTION to Transfer
                  to Reciprocity Industries, LLC's Motion to Quash Century's Subpoena to the
                  Bankruptcy Court for the District of Delaware (Griffin, Robert) (Entered: 11/16/2021)
11/19/2021     12 MOTION for Extension of Time to File Response/Reply Adam J. Tunning appearing
                  for Plaintiff Reciprocity Industries, LLC Motions referred to Timothy J. Cavan.
                  (Tunning, Adam) (Entered: 11/19/2021)
11/19/2021     13 Brief/Memorandum in Support re 12 MOTION for Extension of Time to File
                  Response/Reply in Support of Extension & Opposition to Century's Motion to Epedite
                  filed by Reciprocity Industries, LLC. (Attachments: # 1 Text of Proposed Order)
                  (Tunning, Adam) (Entered: 11/19/2021)
11/22/2021     14 ORDER. IT IS HEREBY ORDERED that Plaintiffs motion for extension of time
                  (Doc. 12) is GRANTED. Plaintiff shall file its reply in support of motion to quash and
                  response in opposition to Defendants 5 motion to transfer by December 6, 2021.
                  Signed by Magistrate Judge Timothy J. Cavan on 11/22/2021. (JDH) (Entered:
                  11/22/2021)
11/30/2021     15 NOTICE of Appearance by Katherine Elizabeth Antonson on behalf of Reciprocity
                  Industries, LLC (Antonson, Katherine) (Entered: 11/30/2021)
12/01/2021     16 NOTICE of Appearance by Matthew M. Hibbs on behalf of Century Indemnity
                  Company (Hibbs, Matthew) (Entered: 12/01/2021)
12/02/2021     17 NOTICE of Withdrawal of Counsel: Robert C. Griffin withdrawing from the case,
                  filed by Century Indemnity Company (Griffin, Robert) (Entered: 12/02/2021)
12/06/2021     18 Brief/Memorandum in Support re 1 MOTION to Quash, 5 MOTION to Transfer to
                  Reciprocity Industries, LLC's Motion to Quash Century's Subpoena to the Bankruptcy
                  Court for the District of Delaware filed by Reciprocity Industries, LLC. (Tunning,
                  Adam) (Entered: 12/06/2021)
04/08/2022     19 ORDER. IT IS HEREBY ORDERED that: (1.) Reciprocitys Motion to Quash (Doc. 1)
                  is DENIED as moot;(2.) Centurys Motion to Transfer (Doc. 5) is GRANTED; and(3.)
                  Centurys Emergency Motion (Doc. 8) is DENIED as moot.(4.) The action shall be
                  transferred to the District of Delaware. Signed by Magistrate Judge Timothy J. Cavan
                  on 4/8/2022. (JDH) (Entered: 04/08/2022)
04/11/2022         Remark: Case has been manually transferred to the U. S. Bankruptcy Court for the
                   District of Delaware. A copy of the docket sheet and transfer order has been provided
                   by e−mail to Jason Spencer (jason_spencer@deb.uscourts.gov). (JDH) (Entered:
                   04/11/2022)
